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                        GOOGLE LLC
                   12

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                   14

                   15                               UNITED STATES DISTRICT COURT
                   16                             NORTHERN DISTRICT OF CALIFORNIA
                   17                                       OAKLAND DIVISION
                   18

                   19   In re Google RTB Consumer Privacy             Master File No. 5:21-cv-02155-YGR (VKD)
                        Litigation,
                   20                                                 DECLARATION OF AARTI REDDY IN
                                                                      SUPPORT OF GOOGLE’S RESPONSE TO
                   21                                                 PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                        This Document Relates to: all actions,        CONSIDER WHETHER ANOTHER PARTY’S
                   22                                                 MATERIALS SHOULD BE SEALED (ECF NO.
                                                                      250)
                   23

                   24

                   25

                   26

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                   28
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ATTORNEYS AT LAW                                                             REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                                 PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                                                CASE NO. 5:21-CV-02155-YGR (VKD)
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                    1          I, Aarti Reddy, declare as follows:
                    2          1.      I am a partner at the law firm of Cooley LLP and attorney of record for Google in
                    3   In re Google RTB Consumer Privacy Litigation, Case No. 5:21-cv-02155 (“In re RTB”). I am
                    4   licensed to practice law in the state of California and am admitted to practice before this Court. I
                    5   submit this declaration in support of Google’s response to Plaintiffs’ Administrative Motion to
                    6   Consider Whether Another Party’s Materials Should be Sealed. ECF No. 250. I have personal
                    7   knowledge of the facts herein and I am competent to testify.
                    8          2.      I am making this declaration pursuant to Local Rule 79-5(e)-(f) as an attorney for
                    9   Google as the Designating Party.
                   10          3.      On July 8, 2022, Plaintiffs filed their Administrative Motion to Consider Whether
                   11   Another Party’s Materials Should be Sealed (ECF No. 250), in connection with Plaintiffs’
                   12   Administrative Motion for Leave to File Supplementary Material (Sur-Reply) (ECF No. 251, with
                   13   ECF Nos. 251-3 to -14, collectively constituting “Plaintiffs’ Motion for Leave to File Reply” or
                   14   “Motion for Leave”). On that same day, I received an unredacted service copy of Plaintiffs’ Motion
                   15   for Leave.
                   16          4.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to
                   17   Local Rule 79-5. Based on my review and in consultation with my client, I understand that there
                   18   is good cause to seal the following information:
                                       Document                     Text to be                Basis for Sealing
                   19
                                                                      Sealed
                   20      Ex. 1, ECF No. 251-3                  Highlighted       I understand the information requested
                                                                 Portions at pages to be sealed contains Google’s highly
                   21                                            4-13              confidential       and      proprietary
                                                                                   information regarding highly sensitive
                   22                                                              features of Google’s internal systems
                                                                                   and operations, including various
                   23
                                                                                   types of Google’s internal projects,
                   24                                                              data signals, and logs, that Google
                                                                                   maintains as confidential in the
                   25                                                              ordinary course of its business and that
                                                                                   is not generally known to the public or
                   26                                                              Google’s competitors. Additionally, I
                   27                                                              understand this document to contain
                                                                                   references to internal code names that
                   28                                                              Google does not use publicly. I
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ATTORNEYS AT LAW                                                                       REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                           2               PLAINTIFFS’ ADMINISTRATIVE MOTION
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                    1                                                    understand such confidential and
                                                                         proprietary     information      reveals
                    2                                                    Google’s internal strategies, system
                    3                                                    designs, and business practices for
                                                                         operating and maintaining many of its
                    4                                                    important services, and falls within the
                                                                         protected scope of the Protective
                    5                                                    Order entered in this action. See ECF
                                                                         No. 59 at 3. It is my understanding
                    6
                                                                         that public disclosure of such
                    7                                                    confidential       and      proprietary
                                                                         information could affect Google’s
                    8                                                    competitive standing as competitors
                                                                         may alter their systems and practices
                    9                                                    relating to competing products. It may
                                                                         also place Google at an increased risk
                   10
                                                                         of cybersecurity threats, as third
                   11                                                    parties may seek to use the
                                                                         information to compromise Google’s
                   12                                                    internal     practices   relating     to
                                                                         competing products.
                   13
                                                                         In Calhoun, Magistrate Judge van
                   14
                                                                         Keulen has previously granted sealing
                   15                                                    similar information. See Calhoun v.
                                                                         Google, No. 20-cv-05146, ECF No.
                   16                                                    768 at 2 (N.D. Cal. Sept. 30, 2021)
                                                                         (granting motion to seal for Exhibit B
                   17                                                    of ECF No. 708).
                   18    Exs. 2-5, ECF Nos. 251-4 through Entirety       I understand the information requested
                         251-7                                           to be sealed contains Google’s highly
                   19                                                    confidential       and      proprietary
                                                                         information regarding highly sensitive
                   20                                                    features of Google’s internal systems
                                                                         and operations, including various
                   21                                                    types of Google’s internal projects,
                   22                                                    data signals, and logs, that Google
                                                                         maintains as confidential in the
                   23                                                    ordinary course of its business and is
                                                                         not generally known to the public or
                   24                                                    Google’s competitors. Additionally, I
                                                                         understand these documents to contain
                   25
                                                                         references to internal code names that
                   26                                                    Google does not use publicly. I
                                                                         understand such confidential and
                   27                                                    proprietary     information     reveals
                                                                         Google’s internal strategies, system
                   28                                                    designs, and business practices for
COOLEY LLP
ATTORNEYS AT LAW                                                         REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                       3     PLAINTIFFS’ ADMINISTRATIVE MOTION
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                    1                                                 operating and maintaining many of its
                                                                      important services, and falls within the
                    2                                                 protected scope of the Protective
                    3                                                 Order entered in this action. See ECF
                                                                      No. 59 at 3. It is my understanding
                    4                                                 that public disclosure of such
                                                                      confidential       and      proprietary
                    5                                                 information could affect Google’s
                                                                      competitive standing as competitors
                    6
                                                                      may alter their systems and practices
                    7                                                 relating to competing products. It may
                                                                      also place Google at an increased risk
                    8                                                 of cybersecurity threats, as third
                                                                      parties may seek to use the
                    9                                                 information to compromise Google’s
                                                                      internal     practices   relating     to
                   10
                                                                      competing products.
                   11    Ex. 6, ECF No 251-8          Entirety        It is my understanding that the
                                                                      information requested to be sealed
                   12                                                 contains Google’s highly confidential
                                                                      and proprietary information regarding
                   13                                                 highly sensitive descriptions of
                   14                                                 Google’s internal systems and
                                                                      operations, including various types of
                   15                                                 Google’s data signals that Google
                                                                      maintains as confidential in the
                   16                                                 ordinary course of its business and is
                                                                      not generally known to the public or
                   17                                                 Google’s competitors. Specifically, I
                   18                                                 understand that such confidential and
                                                                      proprietary     information      reveals
                   19                                                 Google’s internal strategies, system
                                                                      designs, and business practices for
                   20                                                 operating and maintaining many of its
                                                                      important services, and falls within the
                   21                                                 protected scope of the Protective
                   22                                                 Order entered in this action. See ECF
                                                                      No. 59 at 3. It is my understanding
                   23                                                 that public disclosure of such
                                                                      confidential       and      proprietary
                   24                                                 information could affect Google’s
                                                                      competitive standing as competitors
                   25
                                                                      may alter their systems and practices
                   26                                                 relating to competing products. Public
                                                                      disclosure of this information may
                   27                                                 also place Google at an increased risk
                                                                      of cybersecurity threats, as third
                   28                                                 parties may seek to use it to
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ATTORNEYS AT LAW                                                      REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                   4      PLAINTIFFS’ ADMINISTRATIVE MOTION
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                    1                                                 compromise         Google’s      internal
                                                                      practices relating to competing
                    2                                                 products.
                    3    Ex. 7, ECF No 251-9          Entirety        It is my understanding that the
                                                                      information requested to be sealed
                    4                                                 contains Google’s highly confidential
                                                                      and proprietary information regarding
                    5                                                 highly sensitive features of Google’s
                                                                      internal systems and operations,
                    6
                                                                      including various types of Google’s
                    7                                                 internal experimental projects, data
                                                                      signals, and logs, that Google
                    8                                                 maintains as confidential in the
                                                                      ordinary course of its business and is
                    9                                                 not generally known to the public or
                                                                      Google’s competitors. Specifically, I
                   10
                                                                      understand that such confidential and
                   11                                                 proprietary      information      reveals
                                                                      Google’s        internal     comments,
                   12                                                 strategies, system designs, and
                                                                      business practices for operating and
                   13                                                 maintaining many of its important
                   14                                                 advertising and data storage services,
                                                                      and falls within the protected scope of
                   15                                                 the Protective Order entered in this
                                                                      action. See ECF No. 59 at 3. It is my
                   16                                                 understanding that public disclosure of
                                                                      such experimental projects and data
                   17                                                 signals could affect Google’s
                   18                                                 competitive standing as competitors
                                                                      may alter their systems and practices
                   19                                                 relating to competing products. It may
                                                                      also place Google at an increased risk
                   20                                                 of cybersecurity threats, as third
                                                                      parties may seek to use the
                   21                                                 information to compromise Google’s
                   22                                                 internal     practices    relating     to
                                                                      competing products.
                   23    Ex. 8, ECF No 251-10         Entirety        It is my understanding that the
                                                                      information requested to be sealed
                   24                                                 contains Google’s highly confidential
                                                                      and proprietary information regarding
                   25
                                                                      highly sensitive features of Google’s
                   26                                                 internal systems and operations,
                                                                      including various types of Google’s
                   27                                                 internal projects, data signals, and
                                                                      logs, that Google maintains as
                   28                                                 confidential in the ordinary course of
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ATTORNEYS AT LAW                                                      REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                   5      PLAINTIFFS’ ADMINISTRATIVE MOTION
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                    1                                                 its business and is not generally known
                                                                      to     the    public     or    Google’s
                    2                                                 competitors.         Specifically,     I
                    3                                                 understand such confidential and
                                                                      proprietary     information      reveals
                    4                                                 Google’s internal strategies, system
                                                                      designs, and business practices for
                    5                                                 operating and maintaining many of its
                                                                      important services, and falls within the
                    6
                                                                      protected scope of the Protective
                    7                                                 Order entered in this action. See ECF
                                                                      No. 59 at 3. It is my understanding
                    8                                                 that public disclosure of such
                                                                      confidential       and       proprietary
                    9                                                 information could affect Google’s
                                                                      competitive standing as competitors
                   10
                                                                      may alter their systems and practices
                   11                                                 relating to competing products. It may
                                                                      also place Google at an increased risk
                   12                                                 of cybersecurity threats, as third
                                                                      parties may seek to use the
                   13                                                 information to compromise Google’s
                                                                      internal     practices    relating    to
                   14
                                                                      competing products.
                   15    Ex. 9, ECF No 251-11         Entirety        It is my understanding that the
                                                                      information requested to be sealed
                   16                                                 contains Google’s highly confidential
                                                                      and proprietary information regarding
                   17                                                 highly sensitive features of Google’s
                   18                                                 internal systems and operations,
                                                                      including various types of Google’s
                   19                                                 internal projects, data signals, and
                                                                      logs, that Google maintains as
                   20                                                 confidential in the ordinary course of
                                                                      its business and is not generally known
                   21                                                 to     the    public     or    Google’s
                   22                                                 competitors.        Additionally,      I
                                                                      understand this document to contain
                   23                                                 references to internal code names that
                                                                      Google does not use publicly.
                   24                                                 Specifically, I understand such
                                                                      confidential       and       proprietary
                   25
                                                                      information reveals Google’s internal
                   26                                                 comments, strategies, system designs,
                                                                      and business practices for operating
                   27                                                 and maintaining many of its important
                                                                      services, and falls within the protected
                   28                                                 scope of the Protective Order entered
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ATTORNEYS AT LAW                                                      REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                   6      PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                                         CASE NO. 5:21-CV-02155-YGR (VKD)
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                    1                                                 in this action. See ECF No. 59 at 3. It
                                                                      is my understanding that public
                    2                                                 disclosure of such confidential and
                    3                                                 proprietary information could affect
                                                                      Google’s competitive standing as
                    4                                                 competitors may alter their systems
                                                                      and practices relating to competing
                    5                                                 products. Public disclosure of these
                                                                      data signals may also place Google at
                    6
                                                                      an increased risk of cybersecurity
                    7                                                 threats, as third parties may seek to use
                                                                      the information to compromise
                    8                                                 Google’s internal practices relating to
                                                                      competing products.
                    9    Ex. 10, ECF No 251-12        Entirety        The information requested to be sealed
                                                                      contains Google’s highly confidential
                   10
                                                                      and proprietary information regarding
                   11                                                 highly sensitive features of Google’s
                                                                      internal systems and operations, as
                   12                                                 reflected in internal communications,
                                                                      including various types of Google’s
                   13                                                 internal projects, data signals, and
                   14                                                 logs, that Google maintains as
                                                                      confidential in the ordinary course of
                   15                                                 its business and is not generally known
                                                                      to     the     public     or    Google’s
                   16                                                 competitors. Such confidential and
                                                                      proprietary      information      reveals
                   17                                                 Google’s internal strategies, system
                   18                                                 designs, and business practices for
                                                                      operating and maintaining many of its
                   19                                                 important services, and falls within the
                                                                      protected scope of the Protective
                   20                                                 Order entered in this action. See ECF
                                                                      No. 59 at 3. Public disclosure of such
                   21                                                 confidential        and       proprietary
                   22                                                 information could affect Google’s
                                                                      competitive standing as competitors
                   23                                                 may alter their systems and practices
                                                                      relating to competing products. It may
                   24                                                 also place Google at an increased risk
                                                                      of cybersecurity threats, as third
                   25
                                                                      parties may seek to use the
                   26                                                 information to compromise Google’s
                                                                      internal      practices    relating    to
                   27                                                 competing products.
                         Ex. 11, ECF No 251-13        Entirety        It is my understanding that the
                   28                                                 information requested to be sealed
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ATTORNEYS AT LAW                                                      REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                   7      PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                                         CASE NO. 5:21-CV-02155-YGR (VKD)
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                    1                                                 contains Google’s highly confidential
                                                                      and proprietary information regarding
                    2                                                 highly sensitive features of Google’s
                    3                                                 internal systems and associations
                                                                      between related databases that Google
                    4                                                 maintains as confidential in the
                                                                      ordinary course of its business and is
                    5                                                 not generally known to the public or
                                                                      Google’s competitors. Additionally, I
                    6
                                                                      understand this document to contain
                    7                                                 references to internal code names that
                                                                      Google          does       not        use
                    8                                                 publicly. Specifically, I understand
                                                                      such confidential and proprietary
                    9                                                 information reveals Google’s internal
                                                                      strategies, system designs, and
                   10
                                                                      business practices for operating and
                   11                                                 maintaining many of its important
                                                                      services, and falls within the protected
                   12                                                 scope of the Protective Order entered
                                                                      in this action. See ECF No. 59 at 3. It
                   13                                                 is my understanding that public
                                                                      disclosure of such confidential and
                   14
                                                                      proprietary information could affect
                   15                                                 Google’s competitive standing as
                                                                      competitors may alter their systems
                   16                                                 and practices relating to competing
                                                                      products. It may also place Google at
                   17                                                 an increased risk of cybersecurity
                   18                                                 threats, as third parties may seek to use
                                                                      the information to compromise
                   19                                                 Google’s internal practices relating to
                                                                      competing products.
                   20    Ex. 12, ECF No 251-14        Entirety        It is my understanding that the
                                                                      information requested to be sealed
                   21                                                 contains Google’s highly confidential
                   22                                                 and proprietary information regarding
                                                                      highly sensitive features of Google’s
                   23                                                 internal systems regarding user data
                                                                      storage and operations, including
                   24                                                 various types of Google’s internal
                                                                      projects, data signals, and logs, that
                   25
                                                                      Google maintains as confidential in
                   26                                                 the ordinary course of its business and
                                                                      is not generally known to the public or
                   27                                                 Google’s competitors. Additionally, I
                                                                      understand this document to contain
                   28                                                 references to internal code names that
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ATTORNEYS AT LAW                                                      REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                   8      PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                                         CASE NO. 5:21-CV-02155-YGR (VKD)
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                    1                                                                 Google         does        not       use
                                                                                      publicly. Specifically, I understand
                    2                                                                 such confidential and proprietary
                    3                                                                 information       reveals      Google’s
                                                                                      capabilities,      system       designs,
                    4                                                                 properties, and business practices for
                                                                                      operating and maintaining many of its
                    5                                                                 important services, and falls within the
                                                                                      protected scope of the Protective
                    6
                                                                                      Order entered in this action. See ECF
                    7                                                                 No. 59 at 3. It is my understanding
                                                                                      that public disclosure of such
                    8                                                                 confidential       and       proprietary
                                                                                      information could affect Google’s
                    9                                                                 competitive standing as competitors
                                                                                      may alter their systems and practices
                   10
                                                                                      relating to competing products. It may
                   11                                                                 also place Google at an increased risk
                                                                                      of cybersecurity threats, as third
                   12                                                                 parties may seek to use the
                                                                                      information to compromise Google’s
                   13                                                                 internal     practices    relating    to
                                                                                      competing products.
                   14
                                 5.       To the best of my knowledge, certain information in Exhibits 1-12 to Plaintiffs’
                   15
                        Motion for Leave reference internal project and infrastructure names that Google does not disclose
                   16
                        publicly. A number of these exhibits also reveal certain highly sensitive technical details regarding
                   17
                        these projects.
                   18
                                 6.       I understand that revealing these terms and corresponding technical details of code
                   19
                        name projects would present a serious risk of irreparable harm to Google. Specifically, an
                   20
                        individual interested in improperly accessing Google’s systems could target particular proprietary
                   21
                        documents and information for improper uses if he or she knew Google’s confidential internal
                   22
                        names.
                   23
                                 7.       Additionally, I understand that, these names, if made public, would allow
                   24
                        individuals who, through legitimate or nefarious means gain access to other documents or
                   25
                        information that reference the same code names, to deduce details about the project to which the
                   26
                        code names refer that they otherwise would not have understood were related. If individuals know
                   27
                        a code name for one of these projects, and then see that same code name in an entirely different
                   28
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ATTORNEYS AT LAW                                                                       REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                             9             PLAINTIFFS’ ADMINISTRATIVE MOTION
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                    1   context, they will be uniquely positioned to piece together previously unconnectable facts about
                    2   the project, gaining improper and potentially damaging insight into Google’s strategic business and
                    3   financial decisions and the operation and capabilities of Google’s systems.
                    4           8.      Additionally, to the best of my knowledge, certain information in Exhibits 1-12 to
                    5   Plaintiffs’ Motion for Leave references technical details and identifiers related to highly sensitive
                    6   data logs and data systems that Google maintains as confidential in the ordinary course of its
                    7   business and that are not generally known to the public or Google’s competitors. Specifically, this
                    8   information includes details related to Google’s internal projects and their proprietary
                    9   functionalities, data signals, logs, metrics, and reports.
                   10           9.      I understand that revealing this information publicly may reveal Google’s internal
                   11   strategies, system designs, and business practices for operating and maintaining many of its
                   12   important proprietary services.
                   13           10.     I understand that public disclosure of this information presents serious risk of
                   14   irreparable harm to Google, including cyber security risk, as third parties may seek to use this
                   15   information to compromise Google’s data sources, including data logs, internal data structures, and
                   16   internal identifier systems.
                   17           11.     Attached hereto as Exhibit 1 is a copy of Ex. 1 to Plaintiffs’ Motion for Leave that
                   18   highlights the specific information that Google seeks to maintain under seal.
                   19           I declare under penalty of perjury that the foregoing is true and correct. Executed on July
                   20   22, 2022 in San Francisco, California.
                   21
                                                                                     /s/ Aarti Reddy
                   22                                                                Aarti Reddy
                   23

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ATTORNEYS AT LAW                                                                           REDDY DECL ISO GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                             10                PLAINTIFFS’ ADMINISTRATIVE MOTION
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